Case 2:15-cv-05346-CJC-E Document 438-43 Filed 10/09/20 Page 1 of 4 Page ID
                                #:29005




                      Exhibit 1-PP
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment



        U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-   -E




                                                                   Evidence Packet P.0729
           Case 2:15-cv-05346-CJC-E Document 438-43 Filed 10/09/20 Page 2 of 4 Page ID
                                           #:29006
Undercover at Disney: 'Deplorable' scheme to skip lines - TODAY.com   http://www.today.com/news/undercover-disney-deplorable-scheme-skip-...




                                                                                                               AL,DL001701


1 of 3                                                                                                                   3/6/2014 10:09 AM
                                                                                                Evidence Packet P.0730
Case 2:15-cv-05346-CJC-E Document 438-43 Filed 10/09/20 Page 3 of 4 Page ID
                                #:29007




                                                       Evidence Packet P.0731
Case 2:15-cv-05346-CJC-E Document 438-43 Filed 10/09/20 Page 4 of 4 Page ID
                                #:29008




                                                       Evidence Packet P.0732
